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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


ESTADOS UNIDOS MEXICANOS,

  Plaintiff,                             Civil Action No: 1:21-cv-11269-FDS

               v.

SMITH & WESSON BRANDS, INC.;
BARRETT FIREARMS MANUFACTURING,
INC.; BERETTA U.S.A. CORP.; BERETTA
HOLDING S.P.A.; CENTURY
INTERNATIONAL ARMS, INC.; COLT’S
MANUFACTURING COMPANY LLC;
GLOCK, INC.; GLOCK GES.M.B.H.; STURM,
RUGER & CO., INC.; WITMER PUBLIC
SAFETY GROUP, INC. D/B/A INTERSTATE
ARMS,

 Defendants.


        BRIEF OF DISTRICT ATTORNEYS AS AMICI CURIAE IN SUPPORT
         OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTIONS TO
                                DISMISS
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I.     INTEREST OF THE AMICI CURIAE

       Amici are prosecutors in cities across the nation that are devastated by the violence and

crime directly resulting from Defendants’ gun sales: Chesa Boudin, District Attorney, San

Francisco County, California; Laura Conover, County Attorney, Pima County (Tucson),

Arizona; Diana Becton, District Attorney, Contra Costa County, California; George Gascón,

District Attorney, Los Angeles County, California; Beth McCann, District Attorney, 2nd Judicial

District (Denver), Colorado; Deborah Gonzalez, District Attorney, Western Judicial Circuit

(Athens), Georgia; Rebecca Like, Acting Prosecuting Attorney, County of Kaua’i, Hawaii; Kim

Foxx, State’s Attorney, Cook County (Chicago), Illinois; Marian Ryan, District Attorney,

Middlesex County, Massachusetts; David Sullivan, District Attorney, Northwestern District,

Massachusetts; Eli Savit, Prosecuting Attorney, Washtenaw County (Ann Arbor), Michigan;

John Choi, County Attorney, Ramsey County (St. Paul), Minnesota; Matthew Van Houten,

District Attorney, Tompkins County, New York; Melinda Katz, District Attorney, Queens

County, New York; Todd Williams, District Attorney, Buncombe County (Asheville), North

Carolina; John Hummel, District Attorney, Deschutes County, Oregon; Mike Schmidt, District

Attorney, Multnomah County (Portland), Oregon; Matt Ellis, District Attorney, Wasco County,

Oregon; Lawrence S. Krasner, District Attorney, Philadelphia, Pennsylvania; Joe Gonzales,

District Attorney, Bexar County (San Antonio), Texas; Mark Gonzalez, District Attorney,

Nueces County (Corpus Christi), Texas; José Garza, District Attorney, Travis County (Austin),

Texas; Sarah F. George, State’s Attorney, Chittenden County (Burlington), Vermont; Joseph

Platania, Commonwealth’s Attorney, City of Charlottesville, Virginia; Steve Descano,

Commonwealth’s Attorney, Fairfax County, Virginia; Ramin Fatehi, Commonwealth’s Attorney,




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City of Norfolk, Virginia; Dan Satterberg, Prosecuting Attorney, King County (Seattle),

Washington.1

       Amici’s jobs are to protect our cities from crime and violent gangs. As detailed below,

we have an interest in this proceeding because Defendants’ gun sales are resulting in

transnational cartel violence and crime that are consuming the resources of our offices, harming

the people in our cities, and endangering law enforcement.

II.    INTRODUCTION

       We live in a global economy: labor, production, and consumption transcend the borders

of our nation. Crime crosses borders, too; not just into border towns, but across the entire

country, through sophisticated criminal networks. It is hardly a surprise, then, that when

Defendants export scores of military-style weapons to Mexico, they are importing human

suffering into the United States. Their guns are being turned on people in our cities and the brave

law enforcement officers who protect them, and they are fueling the drug carnage ravaging this

country. Defendants want to pretend that when you fire guns into the air, the bullets do not land.

That is wrong. Defendants’ profiteering is paid for in U.S. blood.

       Defendants and Mexican cartels are involved in a deadly exchange: Defendants supply

the assault weapons and sniper rifles that Mexican cartels use to carry out unlawful trafficking;

the cartels, in turn, blanket American communities with lethal drugs and violence. As Plaintiff

Estados Unidos Mexicanos (Mexico) pleads in its Complaint, Defendants design and distribute

weapons of war with full knowledge that they will be used by cartels in the bloody battle over

the lucrative drug trade in the United States.



1
 No person or entity other than amici and their counsel authored the brief in whole or in part. No
person or entity other than amici and their counsel contributed money intended to fund preparing
or submitting the brief.


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       Our offices have seen firsthand the catastrophic effect that Defendants’ conduct has had

in our communities: the escalating violence and turf wars fought with Defendants’ guns; the

destructive effects of narcotics, including fentanyl, that Mexican cartels import in exchange for

Defendants’ guns; and the violence that inevitably ensues when cartel members, wielding

Defendants’ guns, protect their trafficking routes. Amici are tasked with protecting our

communities from the violence wrought with Defendants’ guns as part of the drug trade and

from the devastating impact of the drugs themselves.

III.   THIS COURT HAS JURISDICTION OVER DEFENDANTS BECAUSE THEIR
       GUN SALES TO MEXICO ARE CAUSING PROFOUND HARM HERE

       Following their decades-old playbook, Defendants assert that the Court lacks jurisdiction

over Mexico’s claims because they are not subject to personal jurisdiction in this District. (See

Dkt. Nos. 57 (Sturm, Ruger & Company, Inc.); 59 (Barret Firearms Manufacturing, Inc.); 63

(Glock, Inc.); 65 (Colt’s Manufacturing Company LLC); 71 (Smith & Wesson Brands, Inc.); 73

(Beretta U.S.A. Corp.).) Not so. Defendants have intentionally flooded Mexico with guns, which

directly causes substantial harm in the United States. A common cycle has emerged: Defendants’

guns are purchased in the United States, often with the proceeds from illegal drug sales.2 They

are then sent down to Mexico to arm the country’s deadly cartels, often in exchange for more

drugs to fund the next arms deal.3 Once the cartels get their hands on Defendants’ guns, they use




2
  See, e.g., U.S. Att’y for the C.D. Cal., Indictment Names Six in Scheme to Provide High-
Powered Firearms and Huge Quantities of Ammunition to Mexican Drug Cartel, (Jan. 24. 2022),
https://www.justice.gov/usao-cdca/pr/indictment-names-six-scheme-provide-high-powered-
firearms-and-huge-quantities; Beth Warren, Where Do Mexican Drug Cartels Get Their Guns?
Often, the United States, USA TODAY (Aug. 25, 2021),
https://www.usatoday.com/story/news/nation/2021/08/25/american-guns-help-arm-mexican-
drug-cartels-including-cjng/5586129001/.
3
  See, e.g., U.S. Att’y for the N.D. Cal., Nineteen South Bay Residents Charged in Alleged
Scheme to Funnel Drugs into U.S and Firearms to Mexico (Feb. 11, 2021),


                                                 3
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them to build up their transnational drug operations and export deadly drugs to the United

States.4 Because Mexican cartels rely on U.S. street-level gangs to sell their drugs, guns

smuggled over the border frequently boomerang back into amici’s communities. They are

subsequently used to commit crimes here, including attacking law enforcement and rival gangs

in the drug wars carried out on the streets of our cities.

        Because Defendants’ have, for years, intentionally put guns into the hands of Mexican

cartels, which have caused substantial and easily foreseeable harm in the United States, it is only

fair that Defendants should be held to answer anywhere that they have caused such injuries. See

Asahi Metal Indus. Co. v. Superior Ct. of Cal., 480 U.S. 102, 112 (1987) (O’Connor, J., plurality

op.) (“placement of a product into the stream of commerce” combined with “[a]dditional conduct

of the defendant” may indicate an intent or purpose to serve the market in the forum State); see

also Heins v. Wilhelm Loh Wetzlar Optical Mach. GmbH & Co. KG., 26 Mass. App. Ct. 14, 22

(1988); Levin v. Harned, 292 F. Supp. 2d 220, 229 (D. Mass. 2003). Any argument to the

contrary is belied by decades of evidence establishing that Defendants intended for their

military-style weapons to be bought and sold by members of the Mexican cartels, which would

in turn bring violence and drugs back into each district in the United States, including this

District.

        It is well documented that Mexican cartels are among American gun manufacturers’ best

customers. Defendants have known this for years, as thousands of their guns are going into




https://www.justice.gov/usao-ndca/pr/nineteen-south-bay-residents-charged-alleged-scheme-
funnel-drugs-us-and-firearms-mexico.
4
  Council on Foreign Rel., Mexico’s Long War: Drugs, Crime, and the Cartels (Feb. 2021),
https://www.cfr.org/backgrounder/mexicos-long-war-drugs-crime-and-cartels; Warren, supra
note 2.


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Mexico on a daily basis.5 It is also well documented that, for years, gun manufacturers—

including Defendants, who overwhelmingly dominate that market—have made more guns than

there are people in this country.6 One study calculates that nearly half of all U.S. gun shops,

stocked with Defendants’ guns, depend on illegal sales to Mexico to stay in business.7 Indeed,

the Bureau of Alcohol, Tobacco, Firearms and Explosives reports that firearms are trafficked

down to Mexico from almost every state, including Alaska.8 On this score, the Court can make

only one plausible inference: that Defendants have knowingly and intentionally manufactured

weapons of war with the intent that they will be trafficked into Mexico for use by the cartels.

       Accordingly, under bedrock jurisdictional principles, Defendants are subject to this

Court’s jurisdiction. Defendants sell guns in this District (as well as districts across the country)

knowing and intending that those guns will illegally make their way to Mexico and into the

hands of international gangsters. Once in the hands of members of the Mexican cartels,

Defendants’ guns are used to facilitate the flood of drugs and violence back into the United

States. Transnational cartels have, with the help of Defendants’ guns, established a two-way



5
  David Gagne, 2,000 Illegal Weapons Cross US-Mexico Border Per Day: Report, INSIGHT
CRIME (Jan. 22, 2015), https://insightcrime.org/news/analysis/2000-illegal-weapons-cross-us-
mexico-border-every-day/; see Gabriela Martinez, The Flow of Guns from the U.S. to Mexico Is
Getting Lost in the Border Debate, PBS (July 2, 2019),
https://www.pbs.org/newshour/politics/the-flow-of-guns-from-the-u-s-to-mexico-is-getting-lost-
in-the-border-debate.
6
  Christopher Ingraham, There Are More Guns Than People in The United States, According to a
New Study of Global Firearm Ownership, WASH. POST (June 19, 2018),
https://www.washingtonpost.com/news/wonk/wp/2018/06/19/there-are-more-guns-than-people-
in-the-united-states-according-to-a-new-study-of-global-firearm-ownership/.
7
  Topher McDougal et. al., The Way of the Gun: Estimating Firearms Traffic Across the U.S.-
Mexico Border, at 2 (Mar. 2013),
https://catcher.sandiego.edu/items/peacestudies/way_of_the_gun.pdf.
8
  Conrad Wilson, Federal Prosecutors Seek Prison Sentence for Man Who Trafficked Oregon
Guns to Mexican Drug Cartel, OPB (Dec. 2021),
https://www.opb.org/article/2021/12/06/federal-prosecutors-seek-sentence-for-man-who-
trafficked-oregon-guns-to-mexican-drug-cartel/.


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network whereby drugs and violence flow back and forth between Mexico and the United States.

Defendants have not merely ignored this problem but continue to fuel it by manufacturing and

marketing the military-style guns that they know and intend will be obtained by the cartels.

Defendants’ actions are devastating amici’s communities, as well as communities across the

country, and they can no longer hide behind their unpersuasive jurisdictional arguments.

       A.      The Guns That Defendants Sell into Mexico Return to the U.S. and Wreak
               Havoc in Amici’s Communities

       Substantial evidence compiled by reporters, non-governmental organizations, and law

enforcement demonstrates that transnational cartels are using Defendants’ guns, funneled from

the United States to Mexico and then back to the United States again, to further their illicit

operations throughout the United States. Arrests from this District as well as in amici’s districts

are illustrative. For example, in April 2021, an individual with ties to the Jalisco New Generation

Cartel (CJNG) was arrested in Holyoke, Massachusetts, and found in possession of hundreds of

grams of the deadly drug fentanyl as well as multiple weapons of war, including an AR-15

assault rifle and handguns equipped with laser sights and capable of carrying large-caliber

ammunition.9 Just a month earlier, eight individuals with “direct ties to a Mexican cartel” were

arrested in Boston and found in possession of hundreds of thousands of dollars’ worth of

fentanyl.10

       On the other side of the country, federal agents in the South Bay Area of California

arrested 19 individuals with ties to the Sinaloa Cartel’s drug and firearm trafficking operations in



9
  U.S. Att’y for the D. Mass, Holyoke Man Arrested for Fentanyl Conspiracy (Apr. 9, 2021),
https://www.justice.gov/usao-ma/pr/holyoke-man-arrested-fentanyl-conspiracy.
10
   U.S. Att’y for the D. Mass, Eight Charged with Conspiring to Distribute Fentanyl and
Cocaine and Money Laundering Conspiracy (Mar. 2021), https://www.justice.gov/usao-
ma/pr/eight-charged-conspiring-distribute-fentanyl-and-cocaine-and-money-laundering-
conspiracy.


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February 2021.11 These individuals were in possession of 16 military-style guns, which were

purchased in the United States and combined with grenade launchers that had been transported to

California from Mexico.12 Also in 2021, federal agents in San Diego arrested dozens of

individuals with ties to the Sinaloa Cartel, and seized from them 90 firearms .13 In 2021 alone,

agents have seized more than 100 guns from Mexican cartel operatives in California—and these

are only the guns recovered from individuals who got caught. The likelihood that any of these

guns were purchased in Mexico is extremely low—there is only one gun shop in all of Mexico,

which requires months of background checks before a customer can purchase a firearm.14 That

lone gun shop sells, on average, 38 firearms each day; by contrast, approximately 580 U.S.

firearms are smuggled into Mexico daily.15

       In 2021, Oregon prosecutors charged individuals with links to CJNG with purchasing

approximately 150 weapons, including Barrett sniper rifles, grenades, and belt-fed machine guns

from shops in the Portland and Salem areas, stripping them of their serial numbers, and sending

them to their cartel bosses in Mexico.16 These are not isolated incidents—law-enforcement

agents have been regularly seizing firearms during the arrests of cartel members for more than a

decade.17



11
   U.S. Att’y for the N.D. Cal., supra note 3.
12
   Id.
13
   U.S. Att’y for the S.D. Cal., Sixty Defendants Charged in Nationwide Takedown of Sinaloa
Cartel Methamphetamine Network (June 29, 2021), https://www.justice.gov/usao-sdca/pr/sixty-
defendants-charged-nationwide-takedown-sinaloa-cartel-methamphetamine-network.
14
   Mexico Has Just One Gun Shop, Yet Is Awash in US Firearms, CRIME REPORT (May 24,
2018), https://thecrimereport.org/2018/05/24/mexico-has-just-one-gun-shop-yet-is-awash-in-us-
firearms/.
15
   Id.
16
   Wilson, supra note 8.
17
   See, e.g., Att’y Gen. of Cal., Brown Announces 16 Indictments, 550 Pound Drug Seizure
Following Infiltration of Sinaloa Cartel (Aug. 26, 2009) (state law enforcement agents in
Imperial County arrested 16 members of the Sinaloa Cartel who were in possession of 9


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       As Defendants’ military-style guns proliferate in amici’s communities and across the

country, so too do deadly shootings. According to the Gun Violence Archive, there were more

than 20,000 gun deaths (not including suicides) in the United States in 2021, which represents

the highest number in years.18 In San Francisco alone, by even the most conservative estimate,

homicides were up more than 16% in 2021 as compared to the previous year,19 and most of these

homicides were committed on neighborhood blocks and in parks.20 As stated by a local law-

enforcement officer working in California’s “Emerald Triangle” (comprising Mendocino,

Humboldt, and Trinity Counties), officers are responding to calls regarding “people in gunfights

on a regular basis,” much of which is linked to Mexican cartels’ illicit operations.21 Fueled by

easy access to guns, at least nine major cities broke their previous annual homicide records in




firearms), https://oag.ca.gov/news/press-releases/brown-announces-16-indictments-550-pound-
drug-seizure-following-infiltration; Michael Isikoff, U.S.: Gun Raids Show Cartels at Work in
Arizona, NBC News (Jan. 25, 2011), https://www.nbcnews.com/id/wbna41257218 (twenty
arrests made in Arizona of individuals attempting to smuggle hundreds of assault rifles into
Mexico); DEA & FBI Joint Intelligence Report, Cartels and Gangs in Chicago, at 7 (May 2017),
https://www.dea.gov/sites/default/files/2018-07/DIR-013-
17%20Cartel%20and%20Gangs%20in%20Chicago%20-%20Unclassified.pdf (federal and state
officer arresting dozens of individuals in Chicago with connections to the Sinaloa Cartel in
possession of heroin, cocaine, millions of dollars, and firearms); U.S. Att’y for the S.D. Tex.,
Three Charged in Conspiracy to Purchase $500,000 in Weapons for Cartel (July 29, 2021),
https://www.justice.gov/usao-sdtx/pr/three-charged-conspiracy-purchase-500000-weapons-
cartel.
18
   Gun Violence Archive, Number of Deaths in 2021,
https://www.gunviolencearchive.org/reports/number-of-gun-deaths?year=2021 (last visited
January 31, 2021).
19
   S.F. Police Dep’t, Crime Dashboard, https://www.sanfranciscopolice.org/stay-safe/crime-
data/crime-dashboard (last visited January 31, 2021).
20
   Abené Clayton, Inside the San Francisco Bay Area’s Pandemic Murder Surge: ‘No One
Knows This Pain But Us,” GUARDIAN (Sept. 28, 2021), https://www.theguardian.com/us-
news/2021/sep/28/san-francisco-bay-area-gun-violence-murders-2020.
21
   Beth Warren, Marijuana Wars: Violent Mexican Drug Cartels Turn Northern California into
‘The Wild West,’ USA TODAY (Dec. 2021), https://www.usatoday.com/in-
depth/news/nation/2021/12/19/mexican-drug-cartels-move-in-on-californias-shadow-marijuana-
industry/8960873002/.


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2021: Austin, Texas; Philadelphia, Pennsylvania; Indianapolis, Indiana; Louisville, Kentucky;

Columbus, Ohio; Albuquerque, New Mexico; Tucson, Arizona; Rochester, New York; and

Portland, Oregon.22

       The prevalence of guns used in connection with crime—and their disastrous effect on

amici’s communities—is well known to Defendants. For decades, they (and the general public)

have known that their guns far too easily fall into the wrong hands and are used for crime. As

Judge Jack Weinstein explained in 2003, “guns move quickly from the legal to the illegal

market; 13% were recovered [in connection with criminal investigations] within one year of their

sale, and 30% were recovered within 3 years of their first sale.” N.A.A.C.P. v. AcuSport, Inc.,

271 F. Supp. 2d 435, 522 (E.D.N.Y. 2003). And, as Mexico observes in its Complaint,

Defendants’ executives have for decades noted the ease with which their guns become “black

market” firearms. (Compl. ¶ 87.) Yet, Defendants have taken no steps to prevent these harms to

our communities, and amici are forced to divert much of their limited resources to combatting

gun violence.

       What better illustration to prove this point than the instant case? Mexico has one gun

store and issues fewer than 50 permits per year. It is Defendants’ guns that end up in Mexico in

dangerous criminals’ hands and then make their way back up to amici’s communities, where

they are used to inflict untold violence. Defendants have made it very clear that without Court

intervention, they will continue to sell their guns, which they know will illegally pour into

Mexico and end up back in our communities. Thus, the scourge of gun violence will continue.




22
   Priya Krishnakumar et. al., Fueled by Gun Violence, Cities Across the US Are Breaking All-
Time Homicide Records This Year, CNN (Dec. 12, 2021),
https://www.cnn.com/2021/12/12/us/homicides-major-cities-increase-end-of-year-
2021/index.html.


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Amici’s efforts to curb this problem, just like Mexico’s, cannot succeed in the face of the

relentless flow of firearms from the Defendants to the cartels—absent the relief Mexico seeks

here.

        B.      Defendants’ Guns Flowing into Mexico Facilitate the Flow of Illicit Drugs
                from Mexico to the United States

        The cartels’ drug trade, which is plaguing U.S. cities., is directly facilitated by

Defendants’ guns. Cartels use Defendants’ guns to attack law enforcement in Mexico and in the

United States, protect their contraband and cash, and maintain control of distribution territories

in the United States. As a result, drugs flow north via the same illicit networks that cartels use to

send guns south.23 As the U.S. Attorney for the Northern District of California put it, “[t]he two-

way flow of drug shipments heading north [to the United States] and firearms, including assault

weapons, sniper rifles and grenade launchers, heading south [to Mexico] is a potently dangerous

situation.”24

                1.     Defendants’ guns are integral to Mexican cartels’ drug trafficking

        Mexican cartels are the leading suppliers of cocaine, heroin, methamphetamine, and other

illicit narcotics to the U.S.25 Approximately 90-94% of the heroin consumed in the United States

comes from Mexico, and, approximately 90 percent of cocaine trafficked to the United States

comes through the Mexico/Central America corridor.26 Mexican cartels have also taken over the



23
   U.S. Att’y for the N.D. Cal., supra note 3; Kevin Sieff & Nick Miroff, The Sniper Rifles
Flowing to Mexican Cartels Show a Decade of U.S. Failure, WASH. POST (Nov. 19, 2020),
https://www.washingtonpost.com/graphics/2020/world/mexico-losing-control/mexico-drug-
cartels-sniper-rifles-us-gun-policy/(“Traffickers bring the guns southward along the same routes
they use to move drugs north.”).
24
   U.S. Att’y for the N.D. Cal., supra note 3 (emphasis added).
25
   Council on Foreign Rel., supra note 4.
26
   Adam Isaacson, Four Common Misconceptions About U.S.-bound Drug Flows Through
Mexico and Central America, WOLA (June 20, 2017), https://www.wola.org/analysis/four-
common-misconceptions-u-s-bound-drug-flows-mexico-central-america/.


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highly lucrative business of producing fentanyl and distributing it into the United States.27 After

a Chinese crackdown in 2019, the Sinaloa Cartel and CJNG have increased their control over the

export of the drug to the United States.28 Once Mexican traffickers smuggle wholesale shipments

of drugs into the United States, their U.S. affiliates and street gangs manage retail-level

distribution in cities throughout the country.29

        The guns Defendants are sending into Mexico are critical to these operations. Mexican

cartels use Defendants’ weapons to carry out murders in Mexico and here. They have fought turf

wars over this profitable business in every major city in the United States—using the guns

supplied by Defendants. According to law enforcement reports, Mexican cartels have formed

relationships with U.S.-based street gangs and prison gangs, using them to smuggle guns to the

cartels, serve as retail-level drug distributors, collect illicit proceeds, and act as enforcers.30

These deepening associations between Mexican cartels and U.S. gangs have sparked a rash of

gun violence on the streets of amici’s communities. For example, San Antonio, Texas, serves as

a “major hub for drugs coming into the country,” which are then re-distributed nationwide by a




27
    Unlike heroin, which requires acres of land to grow poppies and several months of cultivation,
fentanyl requires a small workforce and infrastructure to set up a laboratory. A 2019 DEA report
estimated that a fentanyl pill costs only $1 to produce but can be resold in the U.S. for at least 10
times as much. Audrey Travère & Jules Giraudat, Revealed: How Mexico’s Sinaloa Cartel Has
Created a Global Network to Rule the Fentanyl Trade, GUARDIAN (Dec. 8, 2020),
https://www.theguardian.com/world/2020/dec/08/mexico-cartel-project-synthetic-opioid-
fentanyl-drugs.
28
   See Steven Dudley et. al., Mexico’s Role in the Deadly Rise of Fentanyl, 4 (Feb. 11, 2019),
https://www.wilsoncenter.org/sites/default/files/media/documents/publication/fentanyl_insight_c
rime_final_19-02-11.pdf.
29
    Travère & Giraudat, supra note 27.
30
    Nat’l Drug Intel. Ctr., National-Level Gang-Drug Trafficking Organization Connections (Apr.
2008), https://www.justice.gov/archive/ndic/pubs27/27612/national.htm#foot6.


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network of street level gangs.31 The cartels’ influence has led to an eruption of gun violence on

the city’s east side, with rival gangs fighting over who gets to sell drugs where.32 Experts

estimate that drugs are related to approximately to 65-70% of all the violent crime committed in

San Antonio.33

       To obtain a foothold in northern California, Mexican cartels have relied on connections

with Sureño gangs based out of Southern California. The historic tension between Sureños and

Norteños has caused bloodshed, including a January 2011 incident in San Jose where gang

members working for a Mexican drug trafficking organization stormed a downtown nightclub

over a drug debt. The ensuing gun shootout between rival gangs killed three people.34

       In Chicago, the ties between Mexican cartels and street level gangs have exacerbated an

already dire gun violence issue. Chicago-based gangs such as the Gangster Disciples, the Vice

Lords, and the Latin Kings receive shipments of drugs from Mexican cartels and fight for

territory for local drug sales.35 Handguns are the weapon of choice for gang members, but they

have also been known to set up ambushes using assault rifles capable of piercing police body

armor, including at funerals of rival gang members.36 In 2016, Chicago saw a jump of more than




31
   Max Massey, Drugs, Cartels, and Gangs Continue to Be a Problem in Bexar County, Sheriff
Salazar Says, KSAT (Nov. 2021), https://www.ksat.com/news/local/2021/11/21/drugs-cartels-
and-gangs-continue-to-be-a-problem-in-bexar-county-sheriff-salazar-says/.
32
   Jessie Degollado, DEA: Cartels at Root of San Antonio's East Side Violence, KSAT (Dec.
2017), https://www.ksat.com/news/2017/12/22/dea-cartels-at-root-of-san-antonios-east-side-
violence/.
33
   Yami Virgin, DEA: Most Violent Crimes Committed By Gangs in SA, FOX SAN ANTONIO (Feb.
4, 2020), https://foxsanantonio.com/news/yami-investigates/most-violent-crimes-committed-by-
gangs-in-sa.
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   Att’y Gen. of Cal., California and the Fight Against Transnational Organized Crime (Mar.
2014), https://oag.ca.gov/sites/all/files/agweb/pdfs/toc/report_2014.pdf.
35
   Jeremy Kryt, How Mexican Cartels Prey on Chicago’s Chaos, DAILY BEAST (July 2017),
https://www.thedailybeast.com/how-mexican-cartels-prey-on-chicagos-chaos.
36
   Id.


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50 percent from the previous year in homicides, the majority of which were gang-related and

perpetrated with guns.37

        Cities in North Carolina, including Charlotte, have seen an increase in gang violence

related to the Sinaloa, CJNG, and Beltrán Leyva cartels.38 In a particularly shocking recent

example, a North Carolina teacher and basketball coach was killed in a shootout after trying to

rob the home of a Mexican drug cartel member.39

        Additionally, proceeds made through street-level drug sales are often used to purchase

Defendants’ guns to then ship down to Mexico. For example, in January 2022, law enforcement

agents arrested six individuals who had conspired to ship assault rifles, machine gun parts and

accessories, and hundreds of thousands of rounds of assault rifle ammunition to Mexico.40 These

weapons were purchased using proceeds from illegal narcotics sales. 41 Transnational cartels are

relying on selling drugs on amici’s streets so that they can afford to buy more of Defendants’

guns.

        As the DEA has noted, “as long as illicit drugs remain in high demand in America, street-

level drug sales will continue to rank among the top criminal activities conducted by street

gangs, who are lured by the prospect of the huge financial gains.”42 Moreover, “the violence




37
   Id.
38
   Catherine Welch, Do Drug Cartels Operate in North Carolina? In Wake of Deadly Shooting,
We Ask an Expert, WFAE 90.7 (Apr. 2021), https://www.wfae.org/local-news/2021-04-15/do-
drug-cartels-operate-in-north-carolina-in-wake-of-chaotic-shooting-we-ask-an-expert.
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   Wilson Wong, Teacher Killed in 'Old Western Shootout' After Trying to Rob Mexican Drug
Cartel, Authorities Say, NBC NEWS (Apr. 2021), https://www.nbcnews.com/news/us-
news/teacher-killed-old-western-shootout-after-trying-rob-mexican-drug-n1264151.
40
   U.S. Att’y for the C.D. of Cal., supra note 2.
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   Id.
42
   DEA, 2019 National Drug Threat Assessment (Dec. 2019),
https://www.dea.gov/sites/default/files/2020-01/2019-NDTA-final-01-14-2020_Low_Web-DIR-
007-20_2019.pdf.


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associated with drug trafficking that is visited on communities around the country will only

increase as street, prison, and outlaw motorcycle gangs clash viciously in their quest to control

the largest and most lucrative territories.”43 Defendants, whose guns are used by Mexican cartels

and their U.S. gang counterparts to advance their drug trade, profit directly from this bloodshed.

               2.      Where there are drugs, there are guns

       At each significant drug-related arrest involving transnational cartels operating in the

United States, numerous guns (including military-style weapons) are recovered. For example, in

October, the Mexican Army and the National Guard raided a drug lab set up in an ostensibly

middle-class home in Culiacán, the capital of northwest Sinaloa.44 In the home, troops seized 118

kilograms of fentanyl, in what is being heralded as the largest seizure of pure fentanyl in

history.45 In tandem with the Mexican raid, U.S. federal agents arrested 17 individuals in

Missouri, Arizona, and California, and recovered 50 firearms in connection with the arrests. 46

       In March 2020, the DEA announced the results of Project Python, a multilateral

interagency operation encompassing all global investigations and related disruption activities

targeting CJNG.47 Project Python resulted in 600 arrests and 350 indictments throughout the

United States, including in California, Texas, Illinois, and New Jersey, and seizures of more than




43
   Id.
44
   Parker Asman, What Does Massive Fentanyl Seizure Say About US-Mexico Security
Relations? INSIGHT CRIME (Nov. 2021), https://insightcrime.org/news/massive-seizure-fentanyl-
us-mexico-security/.
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   Id.
46
   U.S. Att’y for the E.D. Mo., Agents Arrest 17 People in Large-Scale Multi-State Drug
Trafficking Ring Involving Fentanyl, Heroin, Crystal Methamphetamine and Firearms, (Oct. 25,
2021), https://www.justice.gov/usao-edmo/pr/agents-arrest-17-people-large-scale-multi-state-
drug-trafficking-ring-involving.
47
   U.S. Dep’t of Just., DEA-Led Operation Nets More Than 600 Arrests Targeting Cártel Jalisco
Nueva Generación (Mar. 11, 2020), https://www.justice.gov/opa/pr/dea-led-operation-nets-more-
600-arrests-targeting-c-rtel-jalisco-nueva-generaci-n.


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15,000 kilos of meth and nearly $20 million in illicit funds.48 Of course, multiple firearms,

including military-style weapons, were recovered at the arrest sites, including 18 firearms in San

Diego alone.49

                 3.    The drugs Mexican cartels are importing, facilitated and protected by
                       Defendants’ guns, cause acute harm in our communities

       Easy access to Defendants’ guns has allowed Mexican cartels to realize their ultimate

goal: becoming primary distributors of the opioids that are decimating amici’s communities. In

the United States, Customs and Border Protection estimates that seizures of fentanyl at the

southern border have increased by 456% from 2018 to 2021.50 Amici have seen increases in

seizures in their own communities as well. In December 2021, for example, Arizona-based

federal and local law enforcement agents made a record seizure of almost 1.7 million fentanyl

pills and 10 kilograms of fentanyl powder in a single investigation.51 In October 2021, drug




48
   Id.; see also Nina Golgowski, Feds Arrest over 600 Alleged Mexican Cartel Members Across
U.S., HUFFINGTON POST (Mar. 2020), https://www.huffpost.com/entry/project-python-dea-drug-
cartel-arrests_n_5e6a3494c5b6bd8156f29013.
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   DEA’s ‘Project Python’ Nets 130 Arrests in San Diego and Imperial Counties, Plus 3K+
Pounds of Meth, NBC SAN DIEGO (Mar. 11, 2020),
https://www.nbcsandiego.com/news/local/photos-deas-project-python-nets-130-arrests-in-san-
diego-and-imperial-counties-plus-3k-pounds-of-meth/2283454/; Erik Avanier, Guns, Drugs,
Stolen Property Seized in Federal Raid on WestSide, NEWS4JAX (Mar. 11, 2020),
https://www.news4jax.com/news/2020/03/11/guns-drugs-stolen-property-seized-in-federal-raid-
on-westside/.
50
   U.S. Customs and Border Prot., Drug Seizure Statistics (Jan. 2022),
https://www.cbp.gov/newsroom/stats/drug-seizure-statistics.
51
   Jodie Underwood, Record Fentanyl Seizure by DEA Phoenix, Scottsdale Police & the Arizona
Attorney General’s Office as DEA Announces Nationwide Public Safety Surge (Dec. 2021),
https://www.dea.gov/press-releases/2021/12/17/record-fentanyl-seizure-dea-phoenix-scottsdale-
police-arizona-attorney.


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enforcement agents seized more than 9,000 fentanyl-laced pills and 2 kilograms of pure fentanyl

in the Atlanta area in one day alone.52

       The fentanyl trafficked by Mexican cartels, has contributed to the devastating effects

synthetic opioids are having on amici’s communities. Since 1999, the rate of drug overdoses in

the United States has nearly quadrupled.53 From April 2020 through March 2021, there were

nearly 97,000 drug overdose deaths in the United States, and 75% of those involved an

opioid. In the same 12-month period the year before, 73,000 overdose deaths were reported,

with 71% involving an opioid. 54 The COVID-19 pandemic has only exacerbated this issue, as

people have struggled with isolation, economic precarity, and lack of access to services. As

COVID-19 ravaged the county, the drug epidemic quietly took more lives. According to the

Centers for Disease Control and Prevention, more than 100,000 Americans died of drug

overdoses during the 12 months following the COVID-19 lockdowns, the most overdose deaths

ever recorded in a one-year span.55

       The devastating consequences of this crisis for amici’s communities goes beyond

overdoses. Open-air drug markets and public drug use “are major contributors to the trauma,

insecurity, and frustration experienced by many of those who spend time” in communities struck




52
   Rob DiRienzo, ‘Historic’ amount of pills laced with fentanyl seized in Atlanta metro area
FOX5 ATLANTA (Oct. 2021), https://www.fox5atlanta.com/news/feds-seize-historic-amount-of-
fake-pills-laced-with-fentanyl-in-atlanta-metro-area.
53
   Ctrs. for Disease Control & Prevention, Understanding the Epidemic (Mar. 2021),
https://www.cdc.gov/opioids/basics/epidemic.html.
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   Ctrs. for Disease Control and Prevention, Vital Statistics Rapid Release, Provisional Drug
Overdose Death Count (January 12, 2022), https://www.cdc.gov/nchs/nvss/vsrr/drug-
overdose-data.htm#dashboard.
55
   Ctrs. for Disease Control & Prevention, Drug Overdose Deaths in the U.S. Top 100,000
Annually (Nov. 2021),
https://www.cdc.gov/nchs/pressroom/nchs_press_releases/2021/20211117.htm.


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by the opioid epidemic.56 Indeed, there is no greater illustration of those realities than the

Tenderloin neighborhood in San Francisco. The Tenderloin, with a population of 45,587 within a

square mile, is the most densely populated area of San Francisco.57 The explosion in drug use in

the Tenderloin has led to several public health crises, including streets littered with feces, used

needles, trash, and rodent infestations.58 Communicable diseases spread more easily in this

environment, including COVID-19, but also tuberculosis, hepatitis, and HIV.59 And Tenderloin

residents lack the services necessary to combat these health crises. “[T]here are many unmet

community health needs that the [Tenderloin] struggles with, thus engendering a cycle of poverty

and worsening health outcomes, and still more poverty.”60

       It is undisputed that the flow of illegal drugs from Mexico to the United States is built on

the back of the cartels’ possesion of Defendants’s guns. To contain the disastrous impact that the




56
   A Report from the San Francisco Street-Level Drug Dealing Task Force (Jun. 2021),
https://oewd.org/sites/default/files/SF%20Street-
Level%20Drug%20Dealing%20Task%20Force%20Report%20(June%2030%202021).pdf.
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   Christopher Cook, What Crowding Looks Like During a Pandemic: Dismal Days in the
Tenderloin, S.F. PUB. PRESS (Aug. 8, 2020), https://www.sfpublicpress.org/what-crowding-
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   Adam Andrzejewski, Mapping San Francisco's Human Waste Challenge - 132,562 Cases
Reported In The Public Way Since 2008, FORBES (Apr. 2019),
https://www.forbes.com/sites/adamandrzejewski/2019/04/15/mapping-san-franciscos-human-
waste-challenge-132562-case-reports-since-2008/?sh=5e1bb4655ea5; Mapping San Francisco’s
Homeless Hypodermic Needle Challenge - 30,000 Case Reports Of Needles In The Public Way
Since 2011, OPENTHEBOOKS.COM (Apr. 2019), https://www.openthebooks.com/mapping-san-
franciscos-homeless-hypodermic-needle-challenge--30000-case-reports-of-needles-in-the-public-
way-since-2011/.
59
   Kevin Fagan, Overcrowding on San Francisco’s Tenderloin Streets — A Bad Scene Getting
Worse in the Coronavirus Crisis, S.F. CHRONICLE (Apr. 2020),
https://www.sfchronicle.com/bayarea/article/Overcrowding-on-San-Francisco-s-Tenderloin-
15193473.php.
60
   Joya Esagoff, The Vicious Cycle of Poverty and Unmet Community Health Needs in San
Francisco’s Tenderloin (TL) Neighborhood: Solutions Based on Stakeholder Perceptions at 5,
UNIV. S.F. (Aug. 7, 2020),
https://repository.usfca.edu/cgi/viewcontent.cgi?article=2283&context=capstone.


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prevalence of these deadly drugs has had in amici’s communities, we must confront Defendants’

complicity in arming the drug syndicates responsible for blanketing our communities with these

drugs.

                                         CONCLUSION

         Mexico’s claims present a truism—when you put assault weapons into commerce, they

will kill people. This truth is all the more profound when you are arming violent criminal gangs

that operate across borders. As the people who confront this truth on a daily basis, amici urge the

Court not to turn away from it. The Court should reject Defendants’ jurisdictional arguments and

deny Defendants’ motion to dismiss.

Dated: February 3, 2022                              Respectfully submitted,

                                                     Amici Curiae

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                                 CERTIFICATE OF SERVICE

       I, Ellen V. Leonida, hereby certify that this document filed through ECF system will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) on February 3, 2022.


                                                       /s/ Ellen V. Leonida
                                                        Ellen V. Leonida
